
PER CURIAM.
11 Denied. Relator has failed to show he received ineffective assistance of counsel under the standard of Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).
Relator has now filed and fully litigated his application for post-conviction relief in the state courts. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction- procedure envisions the fling of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La. C.Cr.P. art. 930.8. Notably,- the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive, filings 'mandatory. Relator’s claims have now been fully litigated in accord with La.C.Cr.P. art. 930.6, and this denial is final. -Hereafter, unless he can show that one of» the narrow exceptions authorizing the fling of a successive application applies, relator has exhausted his right to state collateral [¿review. The District Court is ordered to record a minute entry consistent with this per curiam.
